Case: 1:17-md-02804-DAP Doc #: 3251-1 Filed: 04/02/20 1 of 11. PageID #: 492382




                    Exhibit 1
Case: 1:17-md-02804-DAP
19-08289-rdd            Doc03/30/20
              Doc 168 Filed #: 3251-1 Entered
                                      Filed: 04/02/20
                                              03/30/20 216:29:49
                                                         of 11. PageID
                                                                  Main #: 492383
                                                                       Document
                                 Pg 1 of 26



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               Chapter 11
PURDUE PHARMA L.P., et al.,                          Case No. 19-23649 (RDD)
              Debtors.1                              (Jointly Administered)

PURDUE PHARMA L.P., et al.,
                                                     Adv. Pro. No. 19-08289
              Plaintiffs
         v.
COMMONWEALTH OF MASSACHUSETTS, et al.,
              Defendants.


     EIGHTH AMENDED ORDER PURSUANT TO 11 U.S.C. § 105(a) GRANTING
               MOTION FOR A PRELIMINARY INJUNCTION

                                                        18 Motion




                                                        Code

                                             Rules

                                               Defendants




                                                                        EXHIBIT 1
19-08289-rdd  Doc 168 Filed
Case: 1:17-md-02804-DAP Doc03/30/20
                            #: 3251-1 Entered 03/30/20 316:29:49
                                      Filed: 04/02/20             Main #:
                                                         of 11. PageID Document
                                                                          492384
                                 Pg 2 of 26




                                     Actions




        Defendants




                               Parties




                                                                    EXHIBIT 1
19-08289-rdd  Doc 168 Filed
Case: 1:17-md-02804-DAP Doc03/30/20
                            #: 3251-1 Entered 03/30/20 416:29:49
                                      Filed: 04/02/20             Main #:
                                                         of 11. PageID Document
                                                                          492385
                                 Pg 3 of 26



                                                  Claims




                                                                            11

Hearing                                                     6 Hearing




                                      4 Motion




                                                                    EXHIBIT 1
19-08289-rdd  Doc 168 Filed
Case: 1:17-md-02804-DAP Doc03/30/20
                            #: 3251-1 Entered 03/30/20 516:29:49
                                      Filed: 04/02/20             Main #:
                                                         of 11. PageID Document
                                                                          492386
                                 Pg 4 of 26




        18 Hearing




                                         Families




                                                                    EXHIBIT 1
Case: 1:17-md-02804-DAP
19-08289-rdd            Doc03/30/20
              Doc 168 Filed #: 3251-1 Entered
                                      Filed: 04/02/20
                                              03/30/20 616:29:49
                                                         of 11. PageID
                                                                  Main #: 492387
                                                                       Document
                                 Pg 5 of 26




                                                                    EXHIBIT 1
19-08289-rdd  Doc 168 Filed
Case: 1:17-md-02804-DAP Doc03/30/20
                            #: 3251-1 Entered 03/30/20 716:29:49
                                      Filed: 04/02/20             Main #:
                                                         of 11. PageID Document
                                                                          492388
                                 Pg 6 of 26




                                                       Opt-Out Parties

                                                                       Amended Order

      Pursuant To 11 U.S.C. § 105(a) Granting Motion For A Preliminary Injunction




             Date                                                               Notice




                                                                             EXHIBIT 1
19-08289-rdd
Case: 1:17-md-02804-DAP
              Doc 168 Filed
                        Doc03/30/20
                            #: 3251-1 Entered
                                      Filed: 04/02/20
                                              03/30/20 816:29:49
                                                         of 11. PageID
                                                                  Main #:
                                                                       Document
                                                                          492389
                                 Pg 7 of 26




                          re: Purdue Pharma, L.P. et al.

                            Stipulation




                                                                    EXHIBIT 1
19-08289-rdd  Doc 168 Filed
Case: 1:17-md-02804-DAP Doc03/30/20
                            #: 3251-1 Entered 03/30/20 916:29:49
                                      Filed: 04/02/20             Main #:
                                                         of 11. PageID Document
                                                                          492390
                                 Pg 8 of 26




                                Action

                                          Plaintiff



        Documents




                                                                    EXHIBIT 1
19-08289-rdd
Case:         Doc 168 Filed
      1:17-md-02804-DAP Doc03/30/20
                            #: 3251-1 Entered 03/30/2010
                                      Filed: 04/02/20  16:29:49   Main Document
                                                         of 11. PageID #: 492391
                                  Pg 9 of 26




                                                                    EXHIBIT 1
Case:
19-08289-rdd
      1:17-md-02804-DAP
              Doc 168 Filed
                        Doc03/30/20
                            #: 3251-1 Entered
                                      Filed: 04/02/20
                                              03/30/2011
                                                       16:29:49
                                                         of 11. PageID
                                                                  Main Document
                                                                       #: 492392
                                 Pg 10 of 26




                                                                    EXHIBIT 1
